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                          UNITED STATES DISTRICT COURT
                           DISTRICT OF MASSACHUSETTS




Humana, Inc.
                     Plaintiff
                                                 CIVIL ACTION
             V.
                                                 NO. 1:21-11578-FDS


Biogen, Inc. et al
                     Defendant


                                 ORDER OF DISMISSAL


Saylor, C. J.


     In accordance with the Court's Memorandum and Order dated March 31,
2023, it is hereby ORDERED that the above-entitled action be and hereby
is DISMISSED.
                                        By the Court,


3/31/2023                                   /s/ Flaviana de Oliveira
     Date                                       Deputy Clerk
